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IN THE CIRCUIT COURT OF THE TWELFTH JUDICIAL CIRCUIT
IN AND FOR SARASOTA COUNTY, FLORIDA

KRISTY MCCAUDSLAND,
Plaintiff,
VS. CASE NO.::
AMAZON.COM, INC., a Foreign
Profit Corporation,

Defendant.

 

COMPLAINT FOR DAMAGES FOR PERSONAL INJURY AND DEMAND FOR JURY
TRIAL

 

Plaintiff, KRISTY MCCAUSLAND, through undersigned counsel, files suit against Defendant,
AMAZON.COM, INC., and alleges the following:

PARTIES, JURISDICTION, AND VENUE

PARTIES

1. Plaintiff, KRISTY MCCAUSLAND (hereinafter “Plaintiff’), at all relevant times was and Is a
resident of Sarasota County, Florida.

2. Defendant, AMAZON.COM, INC. (hereinafter “Defendant’), 1s a foreign corporation
organized under the laws of Washington, with headquarters in Seattle.

3. At all relevant times, Defendant owns and operates nationwide, indeed, worldwide, on-line
services wherein it facilitates the sale and delivery of goods between sellers and consumers.

4. Defendant has annual revenues of $321 billon.

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5. At all relevant times, Defendant advertised, allowed to be advertised, hosted on-line services
facilitating the sale of, packaged, distributed, delivered, and sold items to the public, including
within the State of Florida, County of Sarasota.

JURISDICTION AND VENUE

6. This Court is vested with jurisdiction over the Defendant because the Defendant conducts
substantial business within the State of Florida and in this county.

7. Plaintiff has suffered damages in excess of $30,000.00.

8. Venue of this action is proper in Sarasota County under Florida Statutes § 47.051 because a
significant act or omission arose 1n this county, the Plaintiff purchased the defective item utilizing
an electronic device located here, the Plaintiff resides here, the Defendant delivered the defective

item to an address located here, and the Defendant transacts business here.

FACTS

 

9. On or about October 22, 2019, the Plaintiff was a patron of Amazon.com, Inc. Ms. McCausland
purchased a product advertised on Amazon.com as Azally Mole & Skin Tag Remover.

10. The Azally Mole & Skin Tag Remover product was further advertised on the Defendant’s
website as “Safe & Effective.”

11. The Azally Mole & Skin Tag Remover product description on Amazon.com did not contain
any warnings regarding the potential for chemical burns or physical harm from the use thereof.
12. The Azally Mole & Skin Tag Remover product included an “Amazon Prime” designation and
an “Amazon Choice” endorsement.

13. The Defendant packaged and shipped the Azally Mole & Skin Tag Remover product to the

Plaintiff.
14. The Plaintiff paid the full price of the Azally Mole & Skin Tag Remover product, packaging,
and the delivery thereof to the Defendant. The Plaintiff was never instructed to make any payments
to any third party.

15. At all times material, Defendant had a duty to comply with all applicable state and federal
regulations intended to ensure the purity and safety of its cosmetic product, including the
requirements of the Federal Food, Drug and Cosmetics Act (21 U.S.C. § 301 et seq.) and Florida
Statute § 499.001 et seq. These acts are designed to protect consumers such as the Plaintiff.

16. The Defendant failed to comply with the provisions of the health and safety acts identified
above, and, as a result, was negligent in its advertising, distribution, and sale of the Azally Mole
& Skin Tag Remover product.

17. The Defendant knew or should have known that if the Azally Mole & Skin Tag Remover
product was not properly and carefully manufactured, designed, tested, maintained, inspected,
mixed, delivered, warned, labeled, and signed prior to sale or distribution to consumers, 1t would,
if used by any member of the general public, be a substantial factor in causing serious and
permanent injury.

18. The Defendant negligently and carelessly manufactured, designed, tested, maintained,
inspected, mixed, assembled, delivered, labeled, warned, signed and sold the Azally Mole & Skin
Tag Remover product so that it was in a dangerous and defective condition and unsafe for the use
and purposes for which it was intended.

19. The danger of the Azally Mole & Skin Tag Remover product was known to the Defendant, or
should have been discovered by the Defendant through the exercise of ordinary care and reasonable

diligence, but was not disclosed or made known to purchasers or users thereof, including the

Plaintiff.
20. After receiving the product, the Plaintiff applied the product on October 24, 2019. She applied
the product per the instructions that were supplied with the product.
21. Approximately 48 hours later, the Plaintiff discovered that her skin had turned black at the
application site. She was later informed by medical personnel that she had received a 3% degree
chemical burn from the product.
22. The Plaintiff continues to suffer from scarring and disfigurement associated with the chemical
burn.
23. Plaintiff incurred medical bills and missed time from work as a direct and proximate result of
the chemical burns and pain symptoms she suffered caused thereby.
CAUSES OF ACTION

COUNT I—NEGLIGENCE
24. The Plaintiff repeats and realleges each and every allegation contained in the preceding
paragraphs of this Complaint as if set forth in full herein.
25. The Defendant owed a duty of care to the Plaintiff and other customers to advertise, deliver,
endorse, recommend, label, and sale safe products, including cosmetic products designed to
remove moles and skin tags.
26. The Defendant owed a duty to the Plaintiff requiring the Defendant to a reasonable standard
of conduct for the safe advertising, handling, distribution, labeling, and sale of cosmetic products.
27. Defendant breached the duty of care owed to Plaintiff. Defendant’s breach led to an
unreasonable and foreseeable risk of harm, including 3“ degree chemical burns, to the Plaintiff.
28. The Defendant also had a duty to use vendors, sellers, suppliers, compounds, and other

constituent materials that were reasonably safe, dermatologically tested, free of defects, and that
otherwise complied with applicable federal, state, and local laws, ordinances, and regulations, and
that were safe for human usage, but the Defendant failed to do so.
29. Defendant breached this duty which is negligence which led to an unreasonable and foreseeable
risk of harm, including 3"? degree chemical burns, to the Plaintiff.
30. Defendant’s breach was the proximate cause of injury or damage to Plaintiff.
31. The Plaintiff was a person intended to be protected by safe cosmetic sales, handling procedures
and practices. As a direct and proximate result of the Defendant’s acts and omissions of negligence,
the Plaintiff suffered 3¢ degree chemical burns.
32. Thus, Plaintiff suffered legally cognizable damages caused by the Defendant’s breach in an
amount to be determined at trial.

COUNT I—STRICT LIABILITY
33. The Plaintiff repeats and realleges each and every allegation contained in the preceding
paragraphs of this Complaint as if set forth in full herein.
34. At all times relevant hereto, the Defendant was an advertiser, distributor, vendor, labeler,
shipper, and/or seller of a defective product, 1.e. the Azally Mole & Skin Tag Remover product.
35. Defendant placed the defective product on the market or allowed the defective product to be
placed on its on-line marketing platform.
36. The Defendant prioritized the defective product and gave it an endorsement and a preferred
product designation.
37. Defendant knew and intended that the defective product would be purchased, applied, and used
by members of the general public who would rely on Defendant to safely design, manufacture,
market, label, warn of, distribute, deliver, and sell the product in a safe manner and to transmit any

relevant warnings about the product.
38. at the time of the incident giving rise to this Complaint, the product was being used in a manner
and fashion that was foreseeable by the Defendant and in a manner in which the product was
intended to be used.

39. Nothing aside from the Defendant’s own choices required it to allow the product for sale, to
store the product at its warehouse, to accept Plaintiff’s order, or to ship the product to her. It made
these choices for its own commercial purposes.

40. The defective product was sold in an unreasonably dangerous condition.

41. The chemical compound known as Azally Mole & Skin Tag Remover that the Defendant
manufactured, distributed, packaged, labeled, shipped and/or sold was, at the time it left the
Defendant’s control, defective, improperly labeled, devoid of warnings, and unreasonably
dangerous for its ordinary and expected use because it had the potential to and, indeed, did inflict
3 degree chemical burns.

42. The defective product reached the Plaintiff without substantial change in condition in which
the product was sold.

43. The defect is the proximate cause of the Plaintif’s injury.

44. The Defendant is strictly liable for damages caused by the Plaintiff’s use of the unreasonably
dangerous and improperly labeled or warned of topical mole and skin tag treatment product.

45. As a direct and proximate result of the Defendant’s acts and omissions the Plaintiff applied an
unreasonably dangerous and improperly labeled or warned of topical mole and skin tag treatment

product and suffered legally cognizable damages in an amount to be determined at trial.
COUNT II—FAILURE TO WARN OF DEFECTIVE CONDITION
46. The Plaintiff repeats and realleges cach and every allegation contained in the preceding
paragraphs of this Complaint as 1f set forth in full herein.
47. The Azally Mole & Skin Tag Remover product was in a dangerous and defective condition
when introduced into the stream of commerce by the Defendant. The product was so defective
that when used in a way that was reasonably foreseeable, the potential risks of the product created
a substantial danger to users of the product and could and would cause serious injuries.
48. The Azally Mole & Skin Tag Remover product had potential risks that were known or
knowable by the use of scientific knowledge available at the time of manufacture, distribution,
labeling, packaging, and sale of the product. Defendant knew, or in the exercise of reasonable
care, should have known that the potential or inherent risks presented a substantial danger to users
of the product because Defendant possessed special knowledge of or a special relationship to those
with knowledge of the materials, design, character, compounds, chemical makeup,
contraindications, possible side effects, and overall nature of the product. Plaintiff and ordinary
consumers would not recognize or have knowledge that the product was dangerous or defective.
49. Although possessed of special knowledge or a special relationship to the possessor of special
knowledge of the potential risks and substantial danger to users of the product, the Defendant failed
to adequately warn or instruct of the potential risks and dangerous and defective conditions of the
product.
50. Plaintiff was harmed and suffered the injuries and damages herein alleged as a result of the
Defendant’s failure to adequately warn. The lack of sufficient warning or instructions was a

substantial factor in cause Plaintiff’s harm.
COUNT IV—BREACH OF IMPLIED WARRANTY
51. The Plaintiff repeats and realleges each and every allegation contained in the preceding
paragraphs of this Complaint as 1f set forth in full herein.
52. At all times relevant hereto, the Defendant marketed, promoted, distributed, advertised,
endorsed, packaged, shipped, or sold the Azally Mole & Skin Tag Remover product for use by the
public at large, including the Plaintiff. Defendant knew the use for which the product was intended
and represented or impliedly warranted the product to be of merchantable quality and medicinal
gerade, safe and fit for its intended uses.
53. Defendant had a duty to exercise reasonable care in the research, testing, manufacturing,
inspection, labeling, distribution, marketing, promotion, shipping, advertising, sale and release of
the product.
54. Plaintiff purchased and made a decision to use the product and reasonably relied on the
Defendant to disclose known or knowable defects, risks, dangers and side effects of the product.
55. Plaintiff had no knowledge of the falsity or incompleteness of the Defendant’s statements and
representations concerning the product when Plaintiff purchased the product as researched,
developed, designed, tested, manufactured, inspected, labeled, distributed, advertised, shipped,
marketed, promoted, sold and otherwise released into the stream of commerce by the Defendant.
56. Defendant had sole access to material facts concerning the defects and knew that users, such
as the Plaintiff, could not have reasonably discovered such defects.
57. By the conduct herein alleged, the Defendant impliedly warranted to Plaintiff that the product

was merchantable and fit for the purpose intended.
58. The Defendant breached this warranty in designing, selling, labeling, shipping, advertising,
and distributing the product 1n a dangerous and defective condition and 1n failing to warn Plainttf
and purchasers of the product of these defects.

59. As a direct and proximate result of the conduct of the Defendant, the Plaintiff has suffered and
continues to suffer serious and permanent physical and emotional injuries, has expended and will
continue to expend money for medical care and treatment, has and will continue to suffer economic
loss, and has otherwise been physically and economically injured.

PRAYER FOR RELIEF

WHEREFORE, Plaintiff prays for the entry of a judgment against Defendant as follows:

1) That the Court award Plaintiff judgment against Defendant in such sums as shall be determined
to fully and fairly compensate Plaintiff for all general, special, incidental and consequential
damages incurred, or to be incurred, by Plaintiff as the direct and proximate result of the
Defendant’s defective product and its acts and omissions. These include, but are not limited to,
physical pain and suffering, both past and future; medical and medical related expenses, both past
and future; travel and travel-related expenses, both past and future; emotional distress and future
emotional distress; pharmaceutical expenses, both past and future; wage loss; and other ordinary,
incidental and consequential damages as would be anticipated to arise under the circumstances;
2) That the Court award Plaintiff her costs incurred in prosecuting this action;

3) That the Court award Plaintiff the opportunity to amend or modify the provisions of this
Complaint as necessary or appropriate after additional or further discovery 1s completed in this
matter, and after all appropriate parties have been served; and

4) That the Court award such other and further relief as it deems necessary and proper in the

circumstances.
DEMAND FOR JURY TRIAL
NOTICE IS HEREBY GIVEN that Plaintiff hereby demands trial by jury in the above-captioned

matter.

Dated: March 30, 2021

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Attorney Reviewed/Electronically Signed

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